     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 1 of 67 Page ID #:16



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 3   emay@seyfarth.com
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 4   Los Angeles, California 90067-3021
     Telephone: (310) 277-7200
 5   Facsimile: (310) 201-5219
 6   Attorneys for Defendant
     DS SERVICES OF AMERICA, INC.
 7
 8
 9                                 UNITED STATES DISTRICT COURT
10                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12   MANUEL GARCIA,                                    Case No.
                                                       Exhibits 1-3 to
13                    Plaintiff,                       DEFENDANT DS SERVICES OF
                                                       AMERICA, INC.’S NOTICE OF
14            v.                                       REMOVAL OF CIVIL ACTION TO
                                                       THE UNITED STATES DISTRICT
15   DS SERVICES OF AMERICA, INC., a                   COURT
     Delaware Corporation, and DOES 1-10,
16   inclusive,                                        Removed from the Superior Court of
                                                       California, County of Los Angeles
17                    Defendants.                      Case No. 20STCV43055
18                                                     [Filed concurrently with the
                                                       Declarations of Tamara Leary and Eric
19                                                     W. May; Certification as to Interested
                                                       Parties; Civil Cover Sheet; and Proof of
20                                                     Service]
21                                                     Complaint Filed: Nov. 12, 2020
                                                       Trial Date:      None Set
22

23

24
25

26
27

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                                     DEFENDANT’S NOTICE OF REMOVAL
     67332811v.3
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 2 of 67 Page ID #:17




         EXHIBIT 1
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 3 of 67 Page ID #:18
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 4 of 67 Page ID #:19
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 5 of 67 Page ID #:20
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 6 of 67 Page ID #:21
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 7 of 67 Page ID #:22
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 8 of 67 Page ID #:23
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 9 of 67 Page ID #:24
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 10 of 67 Page ID #:25
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 11 of 67 Page ID #:26
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 12 of 67 Page ID #:27
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 13 of 67 Page ID #:28
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 14 of 67 Page ID #:29
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 15 of 67 Page ID #:30
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 16 of 67 Page ID #:31
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 17 of 67 Page ID #:32
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 18 of 67 Page ID #:33
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 19 of 67 Page ID #:34
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 20 of 67 Page ID #:35
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 21 of 67 Page ID #:36
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 22 of 67 Page ID #:37
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 23 of 67 Page ID #:38
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 24 of 67 Page ID #:39
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 25 of 67 Page ID #:40
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 26 of 67 Page ID #:41
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 27 of 67 Page ID #:42
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 28 of 67 Page ID #:43
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 29 of 67 Page ID #:44
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 30 of 67 Page ID #:45
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 31 of 67 Page ID #:46
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 32 of 67 Page ID #:47
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 33 of 67 Page ID #:48
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 34 of 67 Page ID #:49
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 35 of 67 Page ID #:50
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 36 of 67 Page ID #:51
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 37 of 67 Page ID #:52
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 38 of 67 Page ID #:53
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 39 of 67 Page ID #:54
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 40 of 67 Page ID #:55
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 41 of 67 Page ID #:56
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 42 of 67 Page ID #:57
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 43 of 67 Page ID #:58
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 44 of 67 Page ID #:59
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 45 of 67 Page ID #:60
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 46 of 67 Page ID #:61
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 47 of 67 Page ID #:62
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 48 of 67 Page ID #:63
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 49 of 67 Page ID #:64




         EXHIBIT 2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 50 of 67 Page ID #:65

                                                                                                                                                 POS-015
ATTORNEY OR PARTY 'MTHOUT ATTORNEY;                      STATE BAR NO:   190404                                         FOR COURT USE ONLY
NAME; Sandra C. Munoz, Esq.
                                                                                                                                                 "
FIRM NAME: Law Offices of Sandra C. Munoz
STREET ADDRESS: 5429 E. Beverly Blvd.
CITY: Los Angeles                                             STATE: CA      ZIP CODE: 90022
TELEPHONE NO.:  323.720.9400                                 FAX NO.: 323.720.9090
E-MAIL ADDRESS: sandra@scmlawoffices.com
ATIORNEY FOR (Name): Plaintiff Manuel Garcia

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS:       111 N. Hill Street
 MAILING ADDRESS:      Same
CITY AND ZIP CODE:       Los Angeles 90012
     BRANCH NAME:      Central District

        Plaintiff/Petitioner: Manuel Garcia
Defendant/Respondent: OS Services of America, Inc.
                                                                                                         CASE NUMBER:
               NOTICE AND ACKNOWLEDGMENT OF RECEIPT-CIVIL                                                20STCV43055


                                        •.=~~=v~~=.~,=...~.~~.~.~=~,~'~"v=.
TOOnserlnameofparlyb~ngserve~;=_~~~~=~~.~                                         ___________________________________________
                                                                           NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing:                   2020


                                 Sandra C. Munoz
                                 (TYPE OR PRINT NAME)
                                                                                     .
                                                         ACKNOWLEDGMENT OJ: RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.   m A copy of the summons and of the complaint.
2.   !Xl Other (specify):
             Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice of Case Assignment; LASC First Amended General
             Order; Voluntary Efficient Litigation Stipulations; ADR Information Package; Plaintiffs Peremptory Challenge to Judicial
             Officer; Notices of Case Management Conference; and Notice of Case Reassignment.


(To be completed by recipient):
Date this form is signed: __________________
                           January 4, 2021

 Eric W. May, Counsel for Defendant DS Services of America, Inc.
                      OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY.                        (SIGNATURE OF PERSON ACKNO'MLEDGING RECEIPT, WTH TITLE IF
                       ON WHOSE BEHALF THIS FORM IS SIGNED)                              ACKNO'MLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                     Page 1 of1

Form Adopted for Mandatory Use            NOTICE AND ACKNOWLEDGMENT OF RECEIPT - CIVIL                                                  Code of Civil Procedure,
Judicial Council of California                                                                                                                 §§415.30,417.10
POS-015 [Rev. January 1, 2005)                                                                                                               www.courtinfo.ca.gov
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 51 of 67 Page ID #:66



 1                                              PROOF OF SERVICE

 2    STATE OF CALIFORNIA                                )
                                                         )   SS
 3    COUNTY OF LOS ANGELES                              )

 4           I am a resident of the State of California, over the age of eighteen years, and not a party to the
      within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5    90067-3021. On January 5, 2021, I served the within document(s):

 6             NOTICE AND ACKNOWLEDGMENT OF RECIEPT - CIVIL

 7            by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
       
        in the United States mail at Los Angeles, California, addressed as set forth below.
 8
              by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
 9     
        below.
10            by placing the document(s) listed above in a sealed envelope or package provided by an
       
        overnight delivery carrier with postage paid on account and deposited for collection with the
11            overnight carrier at Los Angeles, California, addressed as set forth below.

12            by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
       
        below.
13
              electronically by using the Court’s ECF/CM System.
14     
15             Sandra C. Munoz, Esq.                         Phone:    323-720-9400
               Law Offices of Sandra C. Munoz                          323-720-9090
16             A Professional Law Corporation
               5429 E. Beverly Blvd                          Attorneys for Plaintiff
17
               Los Angeles, CA 90022                         Manuel Garcia
18
              I am readily familiar with the firm's practice of collection and processing correspondence for
19    mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
      postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
20    served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
      after date of deposit for mailing in affidavit.
21
             I declare under penalty of perjury under the laws of the State of California that the above is true
22    and correct.
23             Executed on January 5, 2021, at Los Angeles, California.
24

25
                                                                           Rebecca Garner
26

27

28


                                                  PROOF OF SERVICE
      67313540v.2
       Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 52 of 67 Page ID #:67


May, Eric

From:                             May, Eric
Sent:                             Monday, January 04, 2021 5:38 PM
To:                               Sandra C. Munoz
Cc:                               Pollaci, Jamie C
Subject:                          RE: Manuel Garcia v. DS Services of America, Inc.
Attachments:                      Notice and Acknowledgment - DS Services(67449287v1).PDF


Thanks, Sandra. Attached please find a courtesy copy of my signature. I’ll also send you a copy via mail.

Eric



From: Sandra C. Munoz <sandra@scmlawoffices.com>
Sent: Monday, January 04, 2021 2:40 PM
To: May, Eric <EMay@seyfarth.com>
Cc: Pollaci, Jamie C <jpollaci@seyfarth.com>
Subject: RE: Manuel Garcia v. DS Services of America, Inc.


[EXT. Sender]

Here you go Eric. Let me know if you have any questions.

Sandra C. Muñoz
Law Offices of Sandra C. Muñoz
A Professional Law Corporation
5429 E. Beverly Blvd.
Los Angeles, CA 90022
Tel. 323.720.9400
Fax: 323.720-9090
scm4law@att.net

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and delete any version, response or reference to it. Thank you.


From: May, Eric [mailto:EMay@seyfarth.com]
Sent: Monday, January 04, 2021 1:19 PM
To: Sandra C. Munoz
Cc: Pollaci, Jamie C
Subject: RE: Manuel Garcia v. DS Services of America, Inc.


Thanks, Sandra. I’ll keep an eye out for it.


                                                             1
        Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 53 of 67 Page ID #:68


Eric W May | Associate | Seyfarth Shaw LLP
2029 Century Park East | Suite 3500 | Los Angeles, California 90067-3021
Direct: +1-310-201-1509 | Fax: +1-310-551-8316
emay@seyfarth.com | www.seyfarth.com




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From: Sandra C. Munoz <sandra@scmlawoffices.com>
Sent: Monday, January 04, 2021 12:36 PM
To: May, Eric <EMay@seyfarth.com>
Cc: Pollaci, Jamie C <jpollaci@seyfarth.com>
Subject: RE: Manuel Garcia v. DS Services of America, Inc.


[EXT. Sender]

Hello Eric,

Thank you for the email. I will send you a Notice and Acknowledgment of Receipt shortly.

Sandra

Sandra C. Muñoz
Law Offices of Sandra C. Muñoz
A Professional Law Corporation
5429 E. Beverly Blvd.
Los Angeles, CA 90022
Tel. 323.720.9400
Fax: 323.720-9090
scm4law@att.net

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contained in the message. If you have received the message in error, please advise the sender by reply email
and delete any version, response or reference to it. Thank you.


From: May, Eric [mailto:EMay@seyfarth.com]
Sent: Thursday, December 31, 2020 10:21 AM
To: sandra@scmlawoffices.com
Cc: Pollaci, Jamie C
Subject: Manuel Garcia v. DS Services of America, Inc.


Dear Ms. Munoz:


                                                                                   2
        Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 54 of 67 Page ID #:69

Following up on my voicemail to you, our law firm has been retained to represent DS Services of America, Inc.
(“DSS”), who was the employer of your client Manuel Garcia in the above-referenced matter. Please direct all
communications in this matter to my attention, using the contact information listed herein.

We understand that your office attempted to serve the summons and Complaint on DSS by leaving a copy of
the documents at DSS’ branch location with someone who is not authorized to accept service. Such service is
not effective. In any event, my office has been authorized to accept service on behalf of DSS. Please send us
the Notice and Acknowledgment of Receipt form and we’ll promptly return it.

Please give me a call if you would like to discuss this case. We’re looking forward to working with you on this
matter.

Eric


Eric W May | Associate | Seyfarth Shaw LLP
2029 Century Park East | Suite 3500 | Los Angeles, California 90067-3021
Direct: +1-310-201-1509 | Fax: +1-310-551-8316
emay@seyfarth.com | www.seyfarth.com




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                                                                                   3
Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 55 of 67 Page ID #:70




         EXHIBIT 3
              Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 56 of 67 Page ID #:71

Electronically FILED by Superior Court of California, County of Los Angeles on 01/05/2021 11:52 AM Sherri R. Carter, Executive Officer/Clerk of Court, by X. Soto,Deputy Clerk


        1       SEYFARTH SHAW LLP
                Jamie C. Pollaci (SBN 244659)
        2       jpollaci@seyfarth.com
                Eric W. May (SBN 264733)
        3       emay@seyfarth.com
                2029 Century Park East, Suite 3500
        4       Los Angeles, California 90067-3021
                Telephone:    (310) 277-7200
        5       Facsimile:    (310) 201-5219

        6       Attorneys for Defendant
                DS SERVICES OF AMERICA, INC.
        7

        8

        9                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
      10                                                                COUNTY OF LOS ANGELES
      11

      12        MANUEL GARCIA,                                                                        Case No. 20STCV43055

      13                                     Plaintiff,                                                       HONORABLE MAUREEN DUFFY-LEWIS
      14                   v.                                                                         ANSWER OF DEFENDANT DS SERVICES
                                                                                                      OF AMERICA, INC. TO PLAINTIFF’S
      15        DS SERVICES OF AMERICA, INC., a Delaware                                              UNVERIFIED COMPLAINT FOR
                Corporation, and DOES 1-10, inclusive,                                                DAMAGES
      16
                                             Defendants.
      17                                                                                              Trial Date: None Set
                                                                                                      Date Action Filed: November 12, 2020
      18

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                                 DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
                67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 57 of 67 Page ID #:72



 1             Defendant DS Services of America, Inc. (“Defendant”), by and through its attorneys, Seyfarth

 2    Shaw LLP, hereby answers the unverified Complaint For Damages (“Complaint”) of Plaintiff Manuel

 3    Garcia (“Plaintiff”), as follows:

 4                                               GENERAL DENIAL

 5             Pursuant to the provisions of Code of Civil Procedure Section 431.30(d), Defendant denies,
 6    generally and specifically, each and every allegation, statement, matter and each purported cause of
 7    action contained in Plaintiff’s Complaint, and without limiting the generality of the foregoing, denies
 8    that Plaintiff has been damaged in the manner or sums alleged, or in any way at all, by reason of any
 9    acts or omissions of Defendant.
10                                  SEPARATE AND ADDITIONAL DEFENSES

11             In further answer to Plaintiff’s Complaint, Defendant alleges the following affirmative and other
12    defenses. In asserting these defenses, Defendant does not assume the burden of proof as to matters that,
13    pursuant to law, are Plaintiff’s burden to prove.
14             Defendant does not presently know all of the facts and circumstances respecting Plaintiff’s
15    claims. Defendant reserves the right to amend this Answer should Defendant later discover facts
16    demonstrating the existence of additional defenses.
17                                                 FIRST DEFENSE
18                           (Failure to State a Claim for Relief—All Causes of Action)
19             1.      Neither the Complaint as a whole, nor any purported cause of action alleged therein,
20    states facts sufficient to constitute a cause of action for relief against Defendant.
21                                               SECOND DEFENSE
22                                   (Frivolous Lawsuit—All Causes of Action)
23             2.      The Complaint, and each purported cause of action contained therein, is barred because
24    Plaintiff’s termination was a result of his admitted violations of California criminal law (Uniform
25    Controlled Substances Act § 11350) and Department of Transportation regulations (21 C.F.R. §§
26    382.213(b), § 382.501(a) and 382.501(b)), rendering this lawsuit completely frivolous. Indeed,
27    sanctions should be awarded against Plaintiff and/or Plaintiff’s counsel for filing a frivolous lawsuit and
28    wasting judicial resources.

                    DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 58 of 67 Page ID #:73



 1                                                 THIRD DEFENSE

 2                                  (Statute of Limitations—All Causes of Action)

 3             3.      The Complaint, and each purported cause of action alleged therein, is barred, in whole or

 4    in part, by the applicable statutes of limitations, including, but not limited to, the time limitations set

 5    forth in California Code of Civil Procedure Sections 335.1 and 338; and Government Code Sections

 6    12940, 12960, and 12965.

 7                                                FOURTH DEFENSE

 8             (Failure to Exhaust Administrative Remedies—First through Fifth Causes of Action)

 9             4.      To the extent that Plaintiff has failed to meet the administrative prerequisites to suit under
10    the Fair Employment and Housing Act, Government Code sections 12940, et seq., including but not

11    limited to failing to raise in his administrative charge of discrimination all of the claims raised in his

12    Complaint, failing to file charges against Defendant, and failing to bring his administrative charge of

13    discrimination within 365 days of the alleged unlawful conduct for which he is seeking relief, his claims

14    are barred.

15                                                 FIFTH DEFENSE

16                                (Plaintiff Caused Damage—All Causes of Action)

17             5.      The Complaint, and each purported cause of action contained therein, is barred because

18    Plaintiff’s injuries, if any, were legally caused, in whole or in part, by Plaintiff’s own negligent or

19    intentional acts or omissions. Further, as Plaintiff failed to exercise ordinary care on his own behalf, his
20    own acts and omissions proximately caused and contributed to the loss, injury, damage, or detriment

21    alleged by Plaintiff and his recovery from Defendant, if any, should be reduced proportionately to the

22    percentage of Plaintiff’s negligence or fault.

23                                                 SIXTH DEFENSE

24                                (After-Acquired Evidence—All Causes of Action)

25             6.      To the extent discovery may disclose information which could serve as a basis for the

26    termination of Plaintiff’s employment, Plaintiff is barred from recovery on Plaintiff’s Complaint, or any

27    purported cause of action alleged therein, by the after-acquired evidence doctrine.

28


                    DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 59 of 67 Page ID #:74



 1                                                SEVENTH DEFENSE

 2                                (Failure to Mitigate Damages—All Causes of Action)

 3              7.       Plaintiff is barred from recovering any damages on Plaintiff’s Complaint (or any

 4    purported cause of action alleged therein), or any such recovery must be reduced, by virtue of Plaintiff’s

 5    failure to exercise reasonable diligence to mitigate his alleged damages.

 6                                                 EIGHTH DEFENSE

 7                         (Workers’ Compensation Act Preemption—All Causes of Action)

 8              8.       To the extent Plaintiff’s Complaint, or any purported cause of action therein, alleges

 9    emotional or physical injury, this Court lacks jurisdiction, and any recovery is barred by the exclusivity
10    of remedy under the California Workers’ Compensation Act, California Labor Code Sections 3200, et

11    seq.

12                                                  NINTH DEFENSE

13           (Failure to Take Advantage of Preventive/Corrective Opportunities—All Causes of Action)

14              9.       Plaintiff’s recovery on his Complaint, or any purported cause of action therein, is barred

15    on the grounds that Defendant exercised reasonable care to prevent and/or correct any unlawfully

16    discriminatory or retaliatory workplace conduct allegedly experienced by Plaintiff. Plaintiff

17    unreasonably failed to take advantage of any preventive or corrective opportunities provided by

18    Defendant or to avoid harm otherwise, and thus Plaintiff’s claims are barred or, alternatively, his relief is

19    limited. State Dept. of Health Servs. v. Superior Ct. of Sacramento County (McGinnis), 31 Cal. 4th
20    1026 (2000).

21                                                  TENTH DEFENSE

22                                  (Avoidable Consequences—All Causes of Action)

23              10.      Any claim of damages alleged in Plaintiff’s Complaint, in whole or in part, is barred by

24    the avoidable consequences doctrine in that Plaintiff unreasonably failed to make use of his employer’s

25    practices and/or procedures by failing to timely and properly report any purported unlawful actions

26    and/or omissions alleged in the Complaint.

27

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                      DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 60 of 67 Page ID #:75



 1                                               ELEVENTH DEFENSE

 2           (Legitimate Business Justification/Same Decision/Mixed Motive—All Causes of Action)

 3             11.      Any monetary recovery on Plaintiff’s Complaint, or any purported cause of action

 4    alleged therein, is barred because, assuming arguendo that discriminatory reasons had been a motivating

 5    factor in any decisions toward Plaintiff, which Defendant expressly denies, Defendant would have made

 6    the same decisions toward Plaintiff in any case for legitimate, non-discriminatory business reasons. See

 7    Harris v. City of Santa Monica, 56 Cal. App. 4th 203 (2013).

 8                                               TWELFTH DEFENSE

 9                                        (Ratification—All Causes of Action)
10             12.      To the extent Plaintiff ratified, consented to, acquiesced in or approved the acts and

11    omissions about which he now complains, his claims are barred.

12                                             THIRTEENTH DEFENSE

13                                    (Contributory Fault—All Causes of Action)

14             13.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

15    is barred in whole or in part by Plaintiff’s own contributory and/or comparative fault.

16                                             FOURTEENTH DEFENSE

17                                          (Estoppel—All Causes of Action)

18             14.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

19    is barred because Plaintiff is estopped by his own conduct and actions to claim any right to damages or
20    any relief against Defendant.

21                                              FIFTEENTH DEFENSE

22                                   (Consent and Waiver—All Causes of Action)

23             15.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

24    is barred by the doctrines of consent and waiver because of Plaintiff’s conduct and actions.

25                                              SIXTEENTH DEFENSE

26                                      (Unclean Hands—All Causes of Action)

27             16.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

28    is barred by the equitable doctrine of unclean hands because of Plaintiff’s conduct and actions.


                     DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 61 of 67 Page ID #:76



 1                                            SEVENTEENTH DEFENSE

 2                                          (Laches—All Causes of Action s)

 3             17.      Plaintiff has delayed unreasonably in the filing of this action, causing prejudice to

 4    Defendant, and, thus, Plaintiff’s claims are barred by the equitable doctrine of laches.

 5                                             EIGHTEENTH DEFENSE

 6                                (Joint and Several Liability—All Causes of Action)

 7             18.      The liability of Defendant, if any, for the non-economic damages claimed by Plaintiff is

 8    limited by Civil Code Section 1431.1, et seq.

 9                                             NINETEENTH DEFENSE
10                                  (No Intentional Conduct—All Causes of Action)

11             19.      Plaintiff’s Complaint, and each purported cause of action alleged therein, fails to allege

12    facts showing any intentional conduct on the part of Defendant, and therefore, fails to support any claim

13    for discrimination or retaliation under FEHA, California Government Code section 12900, et seq.

14    Plaintiff further alleges that Defendant’s claims are barred to the extent that he cannot show that

15    Defendant engaged in discrimination against him on the account of any protected characteristic.

16                                              TWENTIETH DEFENSE

17                             (Good Faith and Reasonableness—All Causes of Action)

18             20.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

19    is barred in whole or in part because Defendant and its agents acted reasonably and in good faith at all
20    times material herein based on all relevant facts and circumstances known by them at the time they so

21    acted.

22                                            TWENTY-FIRST DEFENSE

23                    (Good Faith Effort to Engage in Interactive Process—All Causes of Action)

24             21.      Plaintiff’s purported causes of action are barred because, assuming he was legally

25    disabled, Defendant made a good faith effort to engage in the interactive process with and to reasonably

26    accommodate Plaintiff.

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                     DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 62 of 67 Page ID #:77



 1                                           TWENTY-SECOND DEFENSE

 2          (Failure To Participate In The Interactive Process In Good Faith—All Causes of Action)

 3             22.      Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred to the

 4    extent that Plaintiff has failed to participate in the interactive process in good faith.

 5                                            TWENTY-THIRD DEFENSE

 6                        (Health and Safety of Plaintiff and Others—All Causes of Action)

 7             23.      Plaintiff’s claims are barred in whole or in part to the extent that Plaintiff could not

 8    perform the essential duties of his position in a manner that would not endanger the employee’s health

 9    or safety or the health or safety of others, even with reasonable accommodations.
10                                           TWENTY-FOURTH DEFENSE

11                                      (Undue Hardship—All Causes of Action)

12             24.      Plaintiff’s Complaint, and each cause of action attempted to be stated therein, is barred

13    because Plaintiff’s alleged disability could not be accommodated without undue hardship to Defendant.

14                                            TWENTY-FIFTH DEFENSE

15                               (Reasonable Accommodation—All Causes of Action)

16             25.      Plaintiff’s Complaint, and each cause of action attempted to be stated therein, is barred

17    because Defendant fulfilled whatever obligation it may have had to reasonably accommodate Plaintiff’s

18    alleged disability to the extent possible in light of business necessities.

19                                            TWENTY-SIXTH DEFENSE
20                      (Inability to Perform Essential Job Functions—All Causes of Action)

21             26.      Plaintiff's Complaint, and each purported cause of action attempted to be alleged therein,

22    is barred because Plaintiff is or was unable to perform all of the essential job functions for his position,

23    or any open alternative position for which he was qualified, even with reasonable accommodation. An

24    employer does not have to maintain employment for an employee who is unable to perform the essential

25    functions of the job.

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                     DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 63 of 67 Page ID #:78



 1                                         TWENTY-SEVENTH DEFENSE

 2                     (Failure to Identify Reasonable Accommodation—All Causes of Action)

 3             27.      Plaintiff’s Complaint, and each purported cause of action attempted to be alleged therein,

 4    is barred to the extent that Plaintiff has failed to identify any available form of reasonable

 5    accommodation that would have allowed Plaintiff to perform the essential functions of Plaintiff’s job

 6    position.

 7                                          TWENTY-EIGHTH DEFENSE

 8                                   (Privilege/Justification—All Causes of Action)

 9             28.      Defendant’s actions, if any, respecting the subject matters alleged in the Complaint, and
10    the claims for relief asserted therein, were undertaken in good faith, with the absence of malicious

11    intent, and constitute lawful, proper, and justified means to further Defendant’s purpose of engaging in

12    and continuing its business. By reason thereof, Plaintiff is barred, in whole or in part, from recovery on

13    the claims for relief alleged in the Complaint.

14                                           TWENTY-NINTH DEFENSE

15                                  (Managerial Discretion—All Causes of Action)

16             29.      Any and all conduct of which Plaintiff complains and which is attributed to Defendant or

17    Defendant’s agents or employees was a just and proper exercise of managerial discretion on the part of

18    Defendant or Defendant’s agents or employees, and was undertaken for a fair and honest reason in light

19    of the circumstances existing at all times mentioned in Plaintiff's complaint.
20                                              THIRTIETH DEFENSE

21                                (Outside Scope of Authority—All Causes of Action)

22             30.      The Complaint, and each purported cause of action therein, is barred as against

23    Defendant to the extent that the actions of its agents, employees, and representatives, if the actions

24    occurred, were not actions taken within the course and scope of their employment.

25                                            THIRTY-FIRST DEFENSE

26                                 (Prompt Remedial Action—All Causes of Action)

27             31.      To the extent that Plaintiff complained of any unlawful conduct, Defendant took prompt

28    remedial action.


                     DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 64 of 67 Page ID #:79



 1                                           THIRTY-SECOND DEFENSE

 2                                           (Offset—All Causes of Action)

 3             32.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

 4    is barred in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received

 5    from any source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set

 6    forth by Witt v. Jackson, 57 Cal. 2d 57 (1961) and its progeny.

 7                                            THIRTY-THIRD DEFENSE

 8                           (Punitive Damages Unconstitutional—All Causes of Action)

 9             33.      Although Defendant denies it has committed or has responsibility for any act that could
10    support the recovery of punitive damages in this lawsuit, if any, to the extent any such act is found,

11    recovery of punitive damages against Defendant is unconstitutional under numerous provisions of the

12    United States Constitution and the California Constitution, including Defendant’s rights to:

13    (1) procedural due process under the Fourteenth Amendment of the United States Constitution and the

14    Constitution of the State of California; (2) protection from “excessive fines” as provided in the Eighth

15    Amendment of the United States Constitution and Article 1, Section 17 of the Constitution of the State

16    of California; and (3) substantive due process provided by the Fifth and Fourteenth Amendments of the

17    United States Constitution and the Constitution of the State of California.

18                                           THIRTY-FOURTH DEFENSE

19                                     (Punitive Damages—All Causes of Action)
20             34.      Plaintiff may not recover punitive damages for discriminatory, harassing and/or

21    retaliatory conduct, if any, to the extent that such conduct is contrary to Defendant’s written policies

22    instituted against wrongful conduct.

23                                            THIRTY-FIFTH DEFENSE

24                                  (Setoff and Recoupment—All Causes of Action)

25             35.      To the extent Plaintiff is entitled to damages, which is specifically denied, Defendant is

26    entitled under the equitable doctrine of setoff and recoupment to offset all overpayments made to

27    Plaintiff and/or all obligations that Plaintiff owed to Defendant against any judgment that may be

28    entered against Defendant.


                     DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 65 of 67 Page ID #:80



 1                                             THIRTY-SIXTH DEFENSE

 2                                     (Duplicate Damages—All Causes of Action)

 3              36.      To the extent Plaintiff has received other benefits and/or awards attributable to an injury

 4    for which he seeks compensation in this case, such benefits and/or awards should offset, in whole or in

 5    part, any award he receives here for the same injury.

 6                                           THIRTY-SEVENTH DEFENSE

 7                                    (At-Will Employment—All Causes of Action)

 8              37.      Plaintiff’s Complaint, and any purported claim for relief alleged therein, is barred

 9    because Plaintiff’s employment with Defendant was at-will.
10                                            THIRTY-EIGHTH DEFENSE

11                                     (Lack of Knowledge—All Causes of Action)

12              38.      To the extent that any unlawful conduct occurred, which Defendant denies, Defendant

13    took all reasonable steps to prevent the alleged unlawful conduct and was not aware of Plaintiff’s

14    purported complaints of unlawful conduct. Accordingly, Plaintiff’s claims are barred or, alternatively,

15    his relief is limited.

16                                              ADDITIONAL DEFENSES

17              Defendant presently has insufficient knowledge or information on which to form a belief as to

18    whether it may have additional, unstated affirmative defenses available to them. Defendant thus

19    reserves the right to assert additional affirmative defenses in the event discovery and further
20    investigation indicate they would be appropriate.

21                                                        PRAYER

22              Wherefore, Defendant prays for judgment as follows:
23              1.       That Plaintiff takes nothing by his Complaint;
24              2.       That judgment be entered in favor of Defendant and against Plaintiff on all causes of
25    action;
26              3.       That Defendant be awarded reasonable attorneys’ fees according to proof;
27              4.       That Defendant be awarded the costs of suit herein incurred; and
28    ///


                      DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 66 of 67 Page ID #:81



 1             5.      That Defendant be awarded such other and further relief as the Court may deem

 2    appropriate.

 3    DATED: January 4, 2021                                Respectfully submitted,
 4                                                          SEYFARTH SHAW LLP
 5

 6                                                          By:/s/ Eric W. May
                                                                Jamie C. Pollaci
 7                                                              Eric W. May
                                                                Attorneys for Defendant
 8                                                              DS SERVICES OF AMERICA, INC.
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                    DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      67313540v.2
     Case 2:21-cv-00142-PSG-KS Document 2 Filed 01/07/21 Page 67 of 67 Page ID #:82



 1                                              PROOF OF SERVICE

 2    STATE OF CALIFORNIA                                )
                                                         )   SS
 3    COUNTY OF LOS ANGELES                              )

 4           I am a resident of the State of California, over the age of eighteen years, and not a party to the
      within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5    90067-3021. On January 5, 2021, I served the within document(s):

 6        ANSWER OF DEFENDANT DS SERVICES OF AMERICA, INC. TO PLAINTIFF’S
      UNVERIFIED COMPLAINT FOR DAMAGES
 7
              by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
 8     
        in the United States mail at Los Angeles, California, addressed as set forth below.

 9            by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
       
        below.
10
              by placing the document(s) listed above in a sealed envelope or package provided by an
11     
        overnight delivery carrier with postage paid on account and deposited for collection with the
              overnight carrier at Los Angeles, California, addressed as set forth below.
12
              by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
13     
        below.

14            electronically by using the Court’s ECF/CM System.
       
15
               Sandra C. Munoz, Esq.                         Phone:    323-720-9400
16             Law Offices of Sandra C. Munoz                          323-720-9090
               A Professional Law Corporation
17                                                           Attorneys for Plaintiff
               5429 E. Beverly Blvd
18             Los Angeles, CA 90022                         Manuel Garcia

19            I am readily familiar with the firm's practice of collection and processing correspondence for
      mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
20    postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
      served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
21    after date of deposit for mailing in affidavit.
22           I declare under penalty of perjury under the laws of the State of California that the above is true
      and correct.
23
               Executed on January 5, 2021, at Los Angeles, California.
24

25

26                                                                         Rebecca Garner
27

28


                                                  PROOF OF SERVICE
      67313540v.2
